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                  EXHIBIT 8
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.,                              )
                                                    )
                              Plaintiff,            )
                                                    )      Civil Action No. l:17-cv-11008-MLW
                      v.                            )
                                                    )
CELLTRION HEALTHCARE CO., LTD.,                     )
CELLTRION, INC., and                                )
HOSPIRA, INC.,                                      )
                                                    )
                              Defendants.           )
                                                    )
                                                    )

           DEFENDANTS’ FIRST SET OF INTERROGATORIES (NOS. 1–19)

       Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, the Local Rules of

this Court, and this Court’s June 21, 2017 Order (No. 15-10698 Dkt. 574), Defendants Celltrion

Healthcare Co., Ltd., Celltrion, Inc. (together “Celltrion”), and Hospira, Inc. (“Hospira”)

(collectively “Defendants”) hereby request that Plaintiff Janssen Biotech, Inc. (“Janssen”)

answer the following Interrogatories by August 14, 2017.

       Janssen lacks standing for its May 31, 2017 complaint, and the complaint should be

dismissed for at least the reasons set forth in Defendants’ motion to dismiss filed July 11, 2017.

Further, Defendants contend that the parties and the Court should not devote resources to

conducting discovery while Defendants’ motion to dismiss is pending. These interrogatories are

propounded without waiver of any position of Defendants’ with respect to standing, their motion

to dismiss, or the question of whether further discovery on damages should be stayed until the

Defendants’ motion to dismiss the 2017 action is decided.

       The ’083 patent is not infringed and is invalid, and Janssen is not entitled to any form of

relief, monetary or otherwise. The below interrogatories are made without any admission or
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waiver of rights or arguments regarding noninfringement, invalidity, or any of Janssen’s theories

or claims regarding damages or other relief.

        Defendants reserve all rights to serve additional discovery requests, including

interrogatories, requests for production, requests for admission, and requests for discovery from

third parties.




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                            DEFINITIONS AND INSTRUCTIONS

       1.      These definitions and instruction incorporate by reference the Federal Rules of

Civil Procedure and Local Rules of this Court.

       2.      “Biosimilar” means a biological product as defined under 42 U.S.C. § 262.

       3.      “BLA” means a Biologic License Application submitted to FDA, as authorized by

42 U.S.C. § 262 and as regulated by 21 C.F.R. §§ 600 et seq.

       4.      “Celltrion” means Defendant Celltrion, Inc. and/or Defendant Celltrion

Healthcare Co., Ltd., and, where applicable, their officers, directors, employees, partners,

corporate parents, subsidiaries, affiliates, successors, predecessors, and any Person or

organization under their control.

       5.      “Celltrion’s Biosimilar Infliximab” means the biologic product that is the subject

of Celltrion’s BLA (BLA 125544) for which Janssen’s Remicade® (infliximab) product is the

claimed reference product under 42 U.S.C. § 262(k).

       6.      “Communication(s)” means any transmission of information from one Person or

entity to another or between or among two or more Persons or entities, including but not limited

to conveyances of information by e-mail, text message, memorandum, letter, note, Document,

telegram, fax, telephone, voicemail, recording, in-person communication, post, instant

messaging, tweet, or other media, and also includes the circumstances by which You came into

possession of the Document evidencing the communication.

       7.      “Defendants” means, individually and collectively, Celltrion and Hospira.

       8.      “Document(s)” is to be given its customary and broad sense and means originals

and all other copies (whether in printed, optical, or electronic form) of all written or graphic

materials however produced or reproduced, of every kind and description, in Your possession,

custody, or control, including, without limitation, all content storage media and items, whether

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handwritten, printed, recorded, filmed, typewritten, or produced by any other mechanical,

optical, or electronic process, whether on disk, diskette, tape, card, hard drive, or otherwise

stored in a memory either electronically, optically, digitally, graphically, or mechanically,

whether or not asserted to be privileged or immune from discovery, and whether the item is a

master or original or copy, including drafts of, or original, preliminary notes or marginal

notations appearing on any document, including self-stick removable notes, and any other

information-containing paper or other medium, including but not limited to any such medium

that in any way records or documents a Communication.

       9.      “FDA” means the United States Food and Drug Administration.

       10.     “Hospira” means Defendant Hospira, Inc. and, where applicable, its officers,

directors,   employees,   partners,   corporate   parents,   subsidiaries,   affiliates,   successors,

predecessors, and any Person or organization under their control.

       11.     “Infliximab” means chimeric monoclonal antibody that is the active ingredient in

Remicade®.

       12.     “Infliximab Product(s)” means any and all products, compositions, formulations,

or dosage forms containing Infliximab or biosimilar Infliximab as the active ingredient,

including but not limited to proposed, experimental, and commercial embodiments.

       13.     “Information” means information in any form, including but not limited to

documentary, electronic, graphical, or tabular, and communicated by any means, including but

not limited to orally, in writing, in a Document, or via electronic communication.

       14.     To “Identify” means to provide:

   •   as to a Person, the full name, current or last known address, present or last known place
       of employment, and Information known about the individual concerning the question
       asked; and in the case of a Person who is a past or present director, officer, employee,
       agent, or representative of Janssen, specify all positions or employments held by that


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       Person during his employment with the company and the dates between which each
       position or employment was held;

   •   as to a Document, the title, location, date, author(s), recipient(s) (including addressee(s),
       copy (“cc” and “bcc”) recipient(s), and all Person(s) who actually received the Document
       or a copy of the Document), number of pages, type of Document, present location and
       custodian of the Document, a summary of the contents of the Document, as well as to
       produce the Document for inspection and copying by Defendants; and

   •   as to facts, a statement and complete explanation of each fact, including any and all
       Information considered ancillary or related to the facts disclosed in response to these
       interrogatories, including but not limited to the circumstances surrounding each fact.

       15.     “Janssen,” “You,” and “Your” mean Janssen Biotech, Inc., its predecessors

(including Centocor, Inc. and Centocor Ortho Biotech, Inc.) and successors, its past and present

parents, subsidiaries, and divisions, any entities in which they have or had an interest, its past and

present directors, officers, employees, and agents, and past and present representatives (including

consultants and attorneys) of any of the foregoing, including any and all Persons acting or

purporting to act, or who have acted or purported to act, on behalf of Janssen Biotech, Inc., its

past and present parents, subsidiaries, and divisions, any entities in which they have or had an

interest, its past and present directors, officers, employees, and agents, and past and present

representatives (including consultants and attorneys) of any of the foregoing.

       16.     “Johnson & Johnson” and “J&J” mean Johnson & Johnson, its predecessors and

successors, its past and present parents, subsidiaries, and divisions, any entities in which they

have or had an interest (e.g., the Johnson & Johnson family of companies), its past and present

directors, officers, employees, and agents, and past and present representatives (including

consultants and attorneys) of any of the foregoing, including any and all Persons acting or

purporting to act, or who have acted or purported to act, on behalf of Johnson & Johnson, its past

and present parents, subsidiaries, and divisions, any entities in which they have or had an




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interest, its past and present directors, officers, employees, and agents, and past and present

representatives (including consultants and attorneys) of any of the foregoing.

         17.   “Janssen’s BLA” means Janssen’s Biologics License Application No. 103772,

including any amendments, supplemental filings, or additions, filed with the FDA for approval to

commercially market Remicade®.

         18.   “Person(s)” means any natural person, firm, association, partnership, government

agency, or other entity and its officers, directors, partners, employees, former employees,

representatives and agents.

         19.    “Remicade®” means any drug product or pharmaceutical formulation marketed

or sold under the name Remicade®, any other drug product or pharmaceutical formulation

marketed further to the FDA’s approval of Janssen’s BLA, as amended and/or supplemented,

and any Infliximab Product for which Janssen seeks damages.

         20.    “’083 Patent” and “Asserted Patent” mean U.S. Patent No. 7,589,083.

         21.   “’083 Patent Inventors” means those individuals, individually and collectively,

who contributed in any way to the conception of the subject matter claimed in U.S. Patent No.

7,589,083, including but not limited to the individuals listed on the face of the ’083 Patent:

David Epstein, Roger Monsell, Joseph Horwitz, Susan Lenk, Sadettin Ozturk, and Christopher

Marsh.

         22.   “’083 Patent Media Product(s)” means any cell medium composition embodying

the composition claimed in the ’083 Patent.

         23.   “Reflecting,” “referring,” “relating to,” “regarding,” “concerning” or any

derivation thereof shall mean, without limitation, being in any way legally, logically, or factually

connected with the matter discussed.



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       24.      “Including” shall mean “including without limitation.”

       25.      If You claim that an Interrogatory is in any way objectionable, respond to the

portion of the Interrogatory believed to be unobjectionable and specifically identify that aspect of

the Interrogatory that You claim to be objectionable and why.

       26.      If You claim that Information requested or required in response to a given

Interrogatory is also responsive to another Interrogatory, You may not answer the Interrogatory

by referring to the answer to another Interrogatory unless the answer to the Interrogatory being

referred to supplies a complete and accurate response to the Interrogatory being answered.

       27.      If You object to any Interrogatory on the ground that it is vague and/or

ambiguous, identify the particular words, terms, or phrases that You assert make such request

vague and/or ambiguous and specify the meaning You actually attribute to such words, terms, or

phrases for purposes of Your response.

       28.      If Janssen elect to avail itself of the procedure for answering interrogatories

authorized by Rule 33(d) of the Federal Rules of Civil Procedure, Defendants request that, for

each interrogatory so answered, Janssen specify the particular Documents relating to the subject

matter of the specific interrogatory, including by production number, and separately for each

Document, specify its source (i.e., the Person from whom files were obtained or other location

from which it was taken), and its author and date of preparation, if not apparent from the face of

the Document.

       29.      These Interrogatories are continuing and require You, to the extent authorized by

Fed. R. Civ. P. 26(e), to furnish supplemental answers whenever You or those in privity with

You obtain different or additional knowledge, Information, or belief in relation to these

Interrogatories after the date of Your original response.



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                                    INTERROGATORIES



INTERROGATORY NO. 1:

        Separately, for each category of monetary damages alleged, state the basis for such
claims. For clarity, each basis should include an identification of each damages theory that
Janssen alleges should be used in the damages calculation (e.g., reasonable royalty, lost profits,
price erosion), the factual and legal support for those theories (for a reasonably royalty, a
detailed analysis, and an explanation of the impact, if any, of each Georgia-Pacific factor, or for
lost profits, a detailed explanation of how and why the requirements for lost profits are allegedly
met), the specific inputs that Janssen alleges should be used under each such theory in the
damages calculation (e.g., the royalty rate and royalty base), the date ranges for which damages
should apply, the relevant market, a computation of any alleged damages Janssen claims, and an
identification of all Documents on which such calculations are based, and the five individuals
most knowledgeable of the above, excluding counsel.

INTERROGATORY NO. 2:

       Identify every product developed, manufactured, tested, used, made, sold, or offered for
sale by You or any licensee or assignee or co-owner that falls within the scope of any claim of
the ’083 Patent (e.g., all ’083 Patent Media Products), including by specifying: (a) the product
name, (b) the dates and locations each product was made, used, sold, offered for sale, licensed, or
imported, (c) the claim(s) of the ’083 Patent that were embodied, practiced, and/or used in or by
each such product, and (d) the name(s) of the purchaser and/or customer.

INTERROGATORY NO. 3:

       Identify every product developed, manufactured, tested, used, made, sold, or offered for
sale by You or any licensee or assignee or co-owner that was developed or manufactured using
’083 Patent Media Products or using a process that incorporates ’083 Patent Media Products,
including by specifying: (a) the product name, (b) the dates and locations each product was
made, used, sold, offered for sale, licensed, or imported, (c) the claim(s) of the ’083 Patent that
were embodied, practiced, and/or used, and (d) the name(s) of the purchaser and/or customer of
the product.

INTERROGATORY NO. 4:

        Describe in detail all costs, received or expected revenues, or returns on investment
attributable to the ’083 Patent and ’083 Patent Media Products at the most granular level for
which Janssen maintains records in the ordinary course of business (e.g., monthly, quarterly,
biannually, annually, etc.). The response should include, without limitation, all valuations,
appraisals, associated costs (with each separate cost identified separately (e.g., costs of
developing, making, purifying, distributing, marketing, and selling, etc.)), and associated gross
and net profit margins, and a detailed description of how Janssen accounts for its revenues,
profits, and costs associated with the ’083 Patent and ’083 Patent Media Products, including: an
identification of which Janssen and/or Johnson & Johnson entities is responsible for costs; an

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identification of which Janssen and/or Johnson & Johnson entities profit, directly or indirectly,
from the sale and/or licensing of the ’083 Patent and ’083 Patent Media Products; an
identification of any related financial statements, reports, budgets, forecasts, valuations, and/or
projections; and an identification of the five individuals most knowledgeable of Janssen’s
marketing, advertisements, and finances related to the ’083 Patent and ’083 Patent Media
Products.

INTERROGATORY NO. 5:

        Identify any license, offer to license, covenants-not-to-sue, assignment, or other
agreements conferring exclusive or non-exclusive rights concerning or including the ’083 Patent
or any purported commercial embodiment of the ’083 Patent, including the following
information: the parties to the agreement; the subject matter of the agreement, including but not
limited to all intellectual property, technology, and know-how subject to license; any payment
obligations provided for in the agreement; and the amount of proposed or actual royalties or
milestones paid (by month or quarter) pursuant to the agreement since its execution and identify
the five individuals most knowledgeable of the negotiations, offer or execution of each license,
or offers to license.

INTERROGATORY NO. 6:

       State the basis for any alleged consumer demand for ’083 Patent Media Products,
including: the identity of the individuals most knowledgeable of any purported consumer
demand for ’083 Patent Media Products; an identification of all consumer or marketing surveys
or reports that address the value of ’083 Patent Media Products or comparable cell media
products; and an identification of each Document reflecting the marketing or monetary value of
’083 Patent Media Products or comparable cell media products.

INTERROGATORY NO. 7:

        State the basis for how any portion of sales of Infliximab Products is allegedly
attributable to use of ’083 Patent Media Products and/or comparable cell media products,
including what portion of sales of Infliximab Products You attribute to the use of ’083 Patent
Media Products and/or comparable cell media products.

INTERROGATORY NO. 8:

        State the basis for any alleged consumer demand for Infliximab Products, including the
portion of total demand attributable to each basis, an identification of individuals most
knowledgeable of any purported consumer demand for Infliximab Products, and an identification
of all consumer or marketing surveys or reports that address the demand for Infliximab Products.

INTERROGATORY NO. 9:

        Identify every product that has been at any time an actual or potential rival, competitor,
or would-be competitor of ’083 Patent Media Products, including the basis for and identification
of the Documents that support Your response. Competitive products include other products from
Johnson & Johnson family companies that compete with Janssen’s ’083 Patent Media Products.

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INTERROGATORY NO. 10:

        Describe in detail all costs, received or expected revenues, or return on investment
attributable to Remicade® at the most granular level for which Janssen maintains records in the
ordinary course of business (e.g., monthly, quarterly, biannually, annually, etc.). The response
should include, without limitation, all valuations, appraisals, associated costs (with each separate
cost identified separately (e.g., costs of making, purifying, distributing, marketing, and selling,
etc.)), associated gross and net profit margins, and a detailed description of how Janssen
accounts for its revenues, profits, and costs associated with Remicade®, including: an
identification of which Janssen and/or Johnson & Johnson entities is responsible for costs; an
identification of which Janssen and/or Johnson & Johnson entities profit, directly or indirectly,
from the sale of Remicade®; an identification of any related financial statements, reports,
budgets, forecasts, valuations, and/or projections; and an identification of the five individuals
most knowledgeable of Janssen’s marketing, advertisements, and finances related to Remicade®.

INTERROGATORY NO. 11:

        Identify every product that has been at any time an actual or potential rival, competitor,
or would-be competitor of Remicade® (including but not limited to Infliximab Products) on a
country-by-country basis, and state the basis for how You define or identify competitive
products, including: the conditions or indications to which any given competitive product is
directed; and an identification of the Documents that support Your response. Competitive
products include other products from Johnson & Johnson family companies that compete with
Remicade®.

INTERROGATORY NO. 12:

        Identify and describe every cell media that has been tested, proposed, considered for use,
or used by anyone as media for production of Remicade® or any Infliximab Product. Your
response should include, for each such media, an explanation of whether or not Janssen believes
it is an ’083 Patent Media Product, either literally or under the Doctrine of Equivalents, an
explanation of the basis for how Janssen identifies it as an ’083 Patent Media Product, if
applicable, a statement of all reasons why Janssen chose not to use any ’083 Patent Media
Product for the process of producing Remicade® or all reasons why Janssen chose the media it
does use or has used for the process of producing Remicade®; and an identification of the five
individuals most knowledgeable of the above, excluding counsel.

INTERROGATORY NO. 13:

       For each limitation in the asserted claims of the ’083 Patent, identify all substitute
ingredients and outer limits to the ingredient ranges which Janssen contends are equivalent to
’083 Patent Media Products under the Doctrine of Equivalents, as well as all media or media
composition which Janssen contends are equivalent to ’083 Patent Media Products under the
Doctrine of Equivalents.




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INTERROGATORY NO. 14:

       For each limitation in the asserted claims of the ’083 Patent, explain how to determine
whether a given media or media composition does not meet that limitation under the Doctrine of
Equivalents, including all metrics and cut-offs employed.

INTERROGATORY NO. 15:

       Identify all acceptable non-infringing alternatives to ’083 Patent Media Products for
production of any Infliximab Product of which Janssen is aware, including why You contend
each such media is a non-infringing alternative.

INTERROGATORY NO. 16:

        Identify the advantages, if any, of the ’083 Patent Media Products relative to prior art cell
culture media or any other non-infringing alternative cell culture media for the purpose of
producing any Infliximab Product. The response should include, without limitation, a description
of the value allegedly added by ’083 Patent Media Products to any prior art cell culture media or
non-infringing alternatives for the purpose of producing any Infliximab Product, including a
description of the value allegedly added by ’083 Patent Media Products to the media Janssen
uses in the process for producing Remicade®.

INTERROGATORY NO. 17:

        To the extent Janssen contends there is no available non-infringing alternative to the ’083
Patent for the purpose of producing Remicade® or any Infliximab Product, explain how any
patent that allegedly claims Infliximab (e.g., U.S. Pat. No. 6,284,471) or methods of treatment of
using Infliximab (e.g., U.S. Pat. No. 7,223,396) is enabled, including how a person of ordinary
skill would be able to make and use the claimed inventions without undue experimentation as of
their respective filing and priority dates.

INTERROGATORY NO. 18:

        For each asserted claim of the ’083 Patent, state the basis for Your contention that
Defendants have willfully infringed or are willfully infringing the ’083 Patent, including without
limitation all facts and circumstances contradicting or otherwise relating to Your contention, an
identification of the time period over which Janssen claims that Defendants have willfully
infringed, the identities of all individuals affiliated with Defendants that Janssen claims knew of
the ’083 Patent and alleged infringement, an identification of all facts and Documents on which
Janssen relies to support its allegations, and an identification of all individuals with knowledge
concerning the factual and legal bases of Janssen’s allegations.

INTERROGATORY NO. 19:

       State the basis for Your contention that this case is an exceptional case under 35 U.S.C.
§ 285, including the identity of all Documents and individuals with knowledge of the facts
concerning that contention.


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Dated: July 11, 2017                Respectfully submitted,

                                    Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                    and Hospira, Inc.

                                    By their attorneys,

                                    /s/Andrea L. Martin, Esq. ______________
                                    Dennis J. Kelly (BBO # 266340)
                                    Andrea L. Martin (BBO #666117)
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                                    Attorneys for Defendants Celltrion Healthcare
                                    Co., Ltd., Celltrion, Inc., and Hospira, Inc.




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                               CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document was served on counsel of record by
electronic mail on July 11, 2017.

                                            /s/Andrea L. Martin, Esq.
                                            Andrea L. Martin, Esq.




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